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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     06-CR-6024L

                       v.

EVERETTE TOOLE, a/k/a “E,”



                              Defendant.
________________________________________________


       Defendant, Everette Toole (“Toole”), together with his brother Algernon Toole were

convicted after a jury trial on February 12, 2010 of two counts of conspiracy to possess with intent

to distribute and to distribute cocaine. Sentencing is currently scheduled for May 18, 2010 at 2:00

p.m.

       Everette Toole moved for a Judgment of Acquittal, pursuant to FED . R. CRIM . P. 29, during

trial and the motion was denied. Now, post verdict, Everette Toole moves (Dkt. #299) again for a

Judgement of Acquittal. The motion is denied.

       I see no reason now to change the Court’s prior rulings made during trial. In my view, there

was more than sufficient evidence for the jury to find both defendants guilty beyond a reasonable

doubt. Defendant Everette Toole did not testify. Several Government witnesses who participated

with the Tooles in the conspiracy did testify, at some length. If believed, their testimony was more
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than sufficient for a reasonable juror to find guilt beyond a reasonable doubt. As is often the case,

the issue was one of credibility which is something for the jury to assess and determine.



                                            CONCLUSION

        The motion of defendant Everette Toole (Dkt. #299) for a judgment of acquittal pursuant

to FED . R. CRIM . P. 29 is in all respects denied.

        IT IS SO ORDERED.



                                        _______________________________________
                                                 DAVID G. LARIMER
                                               United States District Judge


Dated: Rochester, New York
       February 23, 2010.




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